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                IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION

  Country Mill Farms, LLC and           Case No. 1:17-cv-00487-PLM-RSK
  Stephen Tennes,
                                        Honorable Paul L. Maloney
                   Plaintiffs,
        v.                              Memorandum in Support of
                                        Plaintiffs Country Mill Farms, LLC,
  City of East Lansing,                 and Stephen Tennes’s Motion for
                                        Partial Directed Verdict
                   Defendant.
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                                   INTRODUCTION

       Consistent with the Court’s order from the bench on July 28, 2021 (the final

 day of trial in this matter), Steve Tennes and Country Mill Farms file this

 supplemental brief in support of their oral motion for partial directed verdict. As

 explained in the oral motion and detailed below, the outcome of this case is

 controlled by Fulton v. City of Philadelphia, 141 S. Ct. 1868 (2021). Indeed, as the

 Court observed while hearing the oral motion, if you substitute “Country Mill” and

 “the City of East Lansing” everywhere that “Catholic Social Services” and “the City
 of Philadelphia” appear in the Fulton opinion, it is difficult to see any difference

 between the two cases. Accordingly, the Court should grant Plaintiffs a directed

 verdict on the individualized-assessments portion of their Free Exercise Claim in

 Count IV, then resolve Plaintiffs’ remaining claims through findings of fact and

 conclusions of law.

                                    BACKGROUND

 I.    The Supreme Court’s decision in Fulton v. City of Philadelphia

       In Fulton, the City of Philadelphia terminated a contract with Catholic Social

 Services (CSS) because CSS would not certify same-sex couples for foster place-

 ments or place foster children with same-sex couples. Like the City of East Lansing,

 Philadelphia said that policy was prohibited by its agreement with CSS, so it

 terminated CSS’s license. The Court observed that it was “plain that the city’s

 actions have burdened CSS’s religious exercise.” 141 S. Ct. at 1876.

       Also like the City of East Lansing, Philadelphia argued that its agreement

 was neutral and generally applicable under Employment Division, Department of

 Human Resources of Oregon v. Smith, 494 U.S. 872 (1981). But the Supreme Court

 disagreed, holding that the contract was “not generally applicable as required by

 Smith” because it allowed the City’s program director to grant an “exception.”




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 Fulton, 141 S. Ct. at 1878. That one clause, said the Court, was a “system of

 individual exemptions” or assessments. Id.

       Philadelphia protested that it had never exercised that “exception” clause.

 But the Supreme Court declared that “[t]he creation of a . . . mechanism for grant-

 ing exceptions renders a policy not generally applicable, regardless of whether any

 exceptions have been given.” Fulton, 141 S. Ct. at 1879. A discretionary provision

 “invites the government to decide which reasons for not complying with the policy

 are worthy of solicitude.” Id. (emphasis added) (citing Smith, 494 U.S. at 884).

       The Supreme Court also rejected Philadelphia’s plea for deference because

 the case arose in a contracting context. “No matter the level of deference,” the Court

 explained, “the inclusion of a formal system of entirely discretionary exceptions . . .

 renders the contractual non-discrimination requirement not generally applicable.”

 Fulton, 141 S. Ct. at 1878. And because Philadelphia’s agreement both imposed a

 burden on CSS’s religious exercise and did not qualify as generally applicable,

 Philadelphia’s exclusionary policy had to survive strict scrutiny, requiring proof of

 government “interests of the highest order” and proof that the policy solution “is

 narrowly tailored to achieve those interests.” Id. at 1881.

       Philadelphia insisted that it had a compelling interest in preventing

 discrimination based on sexual orientation. But the Supreme Court said that

 objective was stated at too high a level of generality. Fulton, 141 S. Ct. at 1881.

 Under Gonzales v. O Centro Espirita Beneficente União do Vegetal, 546 U.S. 418,

 430–32 (2006), the Court instead asked whether Philadelphia had such an interest

 in denying an exception to CSS in particular. Fulton, 141 S. Ct. at 1882. The Court

 held, as a matter of law, that the City lacked a compelling interest in forcing CSS to
 certify same-sex couples for foster placement because of Philadelphia’s discretion:

 the “creation of a system of exceptions under the contract undermines the City’s

 contention that its non-discrimination policies can brook no departures.” Id. In


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 other words, the “City offer[ed] no compelling reason why it has a particular

 interest in denying an exception to CSS while making them available to others.” Id.

 II.   The undisputed trial evidence regarding East Lansing’s discretion

       The City of East Lansing’s vendor requirements—which appear at Exhibit 24

 (2017 version) and 58 (2021 version)—create a system of individualized assessments

 that far exceeds Philadelphia’s discretion. Section 6 gives the City discretion to

 consider 14 different factors pertaining to how a vendor “will embody the spirit of

 the market,” whatever that means. Vendor Requirements § 6. These factors include

 the building of customer relationships, compliance with the City’s Human Rights

 Ordinance, and “Having fun!” Id. City Manager Lahanas initially testified that the

 Human Rights Ordinance was mandatory for vendors. But on cross-examination, he

 was forced to admit that these are all just “factors,” and none of the factors are

 mandatory, just “something to consider.” What’s more, City Manager Lahanas

 confirmed, the City has complete discretion in how to weigh the 14 factors against

 each other. See Daily Trial Transcript, Day 2 at 290:20–292:12, attached as Exhibit

 B. And that testimony is in accord with the plain language of the contract document

 itself, which places no limitations on how the City exercises its discretion.

       The City’s Vendor License Agreement, Exhibit 4, confirms the City of East

 Lansing’s discretion in § 12, regarding revocation. That provision says that “any

 license may be revoked by the City for failure to comply with the guidelines.”

 License Agreement § 12 (emphasis added). This is classic government discretion.

       The City’s discretion broadens even more under the Human Rights Ordi-

 nance (available at Exhibit 24 (2017), and online at https://bit.ly/3ypwLf3). The

 Ordinance contains abundant exemptions, including:

       •   § 22-33(d) (employment of a close family member);

       •   § 22-33(e) (bona fide occupational qualifications, which former Mayor

           Meadows confirmed can be given “at the option of the Commission”);


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       •   § 22-33(g) (City’s discretion to declare when a contractor has breached a

           City contract by violating the Ordinance in its employment);

       •   § 22-34(c) (housing discrimination involving certain leases);

       •   § 22-37 (private clubs or other establishments that are not open to the

           public are exempt from the Ordinance in its entirety);

       •   §22-38(d) (Commission has discretion to investigate alleged violations);

       •   § 22-38(g) (Commission discretion to refer a violator for further action);

       •   § 22-38(h) (all penalties under the Ordinance are optional, including

           whether to impose fines or imprisonment under § 22-38(h)(11));

       •   § 22-40(b) (City has discretion whether to consider an Ordinance violation

           to be a material breach of contract); and

       •   § 22-40(c) (eight-item list of secular exemptions for City contractors who

           do not want to provide domestic partner benefits).

       Any one of these exemptions would be enough under Fulton. But the

 exemption for private clubs and other establishments not open to the public is

 particularly striking. Mayor Meadows testified that a “private club” might include

 the Kiwanis or the Rotary Club. And he testified that “other establishments” might

 include the VFW. See Ex. B at 355:1–356:9. So if any one of these (or other,

 similarly qualified) organizations hosted weddings at a venue but respectfully

 declined to host same-sex weddings, the organizations and their venues would be

 automatically exempt under the City’s own policies.

       The City’s Farmer’s Market Manager at the time, Ms. Majano, put a bow on

 all this. She testified that the City has discretion to include or exclude a vendor

 based on how “grumpy” they are. And when it came to the vendor improperly selling
 non-Michigan cheese, or the vendor who drove his vehicle into another vendor’s

 stand, likely due to his intoxication, Ms. Majano agreed the City “looked at it on a




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 case-by-case basis” and did what they “thought was fair.” See Daily Trial

 Transcript, Day 1 at 206:14–25, attached as Exhibit A.

                                      ARGUMENT
 I.    The City of East Lansing’s decision to exclude Country Mill from the
       Farmer’s Market is unconstitutional for the same reasons as the City
       of Philadelphia’s exclusion of CSS from the foster program.
       After Fulton, resolving Country Mill’s Free Exercise Claim based on

 individualized assessments (Count IV) is straightforward. Under Fulton, it does not

 matter why the City of East Lansing declined to allow Country Mill to return to the

 Farmer’s Market after learning about the Tenneses’ Catholic marriage beliefs. It

 doesn’t even matter if the City of East Lansing ever granted an exemption to

 anyone else—though it clearly has, both expressly (private clubs or other establish-

 ments not open to the public), and in practice (the non-Michigan cheese vendor and

 the intoxicated vendor). The legal problem is that East Lansing’s policy “invites the

 government to decide which reasons for not complying with the policy are worthy of

 solicitude.” Fulton, 141 S. Ct. at 1879.

       From there, the analysis is easy. Like Philadelphia, East Lansing lacks a

 compelling reason to force the Tenneses to violate their religious beliefs on their
 family farm more than 20 miles outside East Lansing’s city limits. Like the City of

 Philadelphia, East Lansing’s unfettered discretion and individualized assessments

 and exceptions “undermines the City’s contention that its non-discrimination

 policies can brook no departures.” Fulton, 141 S. Ct. at 1882.

       In sum, just as in Fulton, East Lansing has (1) burdened Country Mill’s

 religious exercise, (2) reserved for itself discretion, assessments, and exceptions, and

 (3) has proffered no compelling reason why it has denied an exception and failed to

 exercise any discretion for Country Mill. So, like the Supreme Court in Fulton, this

 Court should hold that the City of East Lansing’s actions toward Country Mill fail




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 strict scrutiny. Like Philadelphia, East Lansing’s system of exemptions undermines

 its contention that its non-discrimination policies can brook no departures.

 II.    The City’s responses to Country Mill’s arguments all fail.
        At the hearing on Plaintiffs’ oral motion for directed verdict, the City of East

 Lansing advanced several reasons in opposition. But these objections fail:

        1. The City first represented that in Fulton, Catholic Social Services was just

 an arm of the Archdiocese of Philadelphia and therefore was a “church.” But as the

 Archdiocese of Philadelphia represents on its audited financial statements, CSS

 (like Catholic Charities West Michigan) is operated separately and distinctly from

 the Archdiocese itself. Archdiocese of Philadelphia – Office for Financial Services,

 Financial Statements and Report of Independent Certified Public Accountants 10

 (Nov. 13, 2020), https://bit.ly/3xpm9ve. Indeed, Catholic Charities of the

 Archdiocese of Philadelphia, d/b/a Catholic Social Services, is an independently

 incorporated non-profit business entity in Pennsylvania. 1

        2. In any event, for-profit businesses enjoy Free Exercise rights, too. In

 Burwell v. Hobby Lobby Stores, Inc., 573 U.S. 682 (2014), the Supreme Court

 granted free-exercise protection to Hobby Lobby, a for-profit business. And while

 the Court started with the definition of “person” under the Religious Freedom

 Restoration Act, the majority then explained why recognizing corporate free-

 exercise rights is consistent with that Court’s First Amendment precedents,

 including O Centro (discussed above), Hosanna-Tabor Evangelical Lutheran Church

 and School v. EEOC, 565 U.S. 171 (2012), and Church of the Lukumi Babalu Aye,

 Inc. v. Hialeah, 508 U.S. 520 (1993). What’s more, explained the Court, a plaintiff

 can exercise religion even while seeking profits, as in Braunfeld v. Brown, 366 U.S.


 1
  Commonwealth of Pennsylvania, Department of State,
 https://www.corporations.pa.gov/search/corpsearch (search for entity number 59070 for Catholic
 Charities, and entity number 2121323 for the Catholic Social Services dba).


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  599 (1961) (plurality), a case involving “five Orthodox Jewish merchants who ran

  small retail businesses” who challenged a “Sunday closing law as a violation of the

  Free Exercise Clause.” Hobby Lobby, 573 U.S. at 705.

        Why would this be so? Because the purpose of the corporate “fiction is to

  provide protection for human beings.” Hobby Lobby, 573 U.S. at 706. “A

  corporation,” said the Court, “is simply a form of organization used by human

  beings to achieve desired ends.” Id. So, “[w]hen rights, whether constitutional or

  statutory, are extended to corporations, the purpose is to protect the rights of these

  people.” Id. at 706–07. These include, for example, Fourth Amendment rights of

  privacy, and protections against government seizure of property without just

  compensation. Id. at 707. Accordingly, when considering a for-profit corporation like

  Country Mill, “[f]urthering [its] religious freedom also ‘furthers individual religious

  freedom,’” i.e., that of the Tennes family. Id. at 709.

        Focusing on the Jewish merchants in Braunfeld, the Court clarified that

  “[b]usiness practices that are compelled or limited by the tenets of a religious

  doctrine fall comfortably within [the] definition” of “exercise of religion.” Hobby

  Lobby, 573 U.S. at 710 (relying on Smith, 494 US at 877, and United States v. Lee,

  455 U.S. 252, 257 (1982)). “If, as Braunfeld recognized, a sole proprietorship that

  seeks to make a profit may assert a free-exercise claim,” id., why can’t Country Mill

  and Steve Tennes do the same?

        In answering that question, the Supreme Court rejected the City of East

  Lansing’s position that the purpose of businesses is just to make money. “[M]odern

  corporate law,” said the Court, “does not require for-profit corporations to pursue

  profit at the expense of everything else, and many do not do so.” Hobby Lobby, 573
  U.S. at 711–12. Indeed, many for-profit corporations “further humanitarian and

  other altruistic objectives,” such as preserving the environment, or fair wages and

  benefits for foreign workers. Id. at 712. “If for-profit corporations may pursue such


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  worthy objectives,” concluded the Court, “there is no apparent reason why they may

  not further religious objectives as well.” Id. In sum, East Lansing cannot violate the

  Tennes family’s right to live their faith while operating their business.

            The City of East Lansing’s response to all this in open Court was to note that

  the Lukumi case involved a church. But the Supreme Court applied its Lukumi

  precedent in ruling in favor of master-cake baker and small-business owner Jack

  Phillips in Masterpiece Cakeshop, Ltd. v. Colorado Civil Rights Commission, 138 S.

  Ct. 1719 (2018). In sum, the Supreme Court has consistently rejected the City’s

  proposition that owners of for-profit companies have no free-exercise protections in

  the way they live their faith through their businesses.

            3. Next, the City tried to distinguish Fulton because CSS views foster-care as

  part of its religious mission. But the evidence here was replete at trial that the

  Tenneses, too, view their business as having a religious mission. From the Country

  Mill mission statement to its articles of incorporation to the way Steve and Bridget

  live out their faith in all their work, the whole enterprise exists to give glory to God.

            What’s more, as the Court commented on this very point, the issue here “is

  marriages, not apples.” And the Tenneses’ Catholic faith is what motivates them to

  host weddings on their family farm in the first place. They are not shy about that

  fact. As they explain on their wedding website, “Our mission of an Orchard Wedding

  is to glorify God by hosting affordable wedding celebrations that create family

  memories.” 2

            In any event, the City is trying to draw a distinction that makes no legal

  difference. For example, running small retail businesses is not inherently “religious

  exercise,” yet the Court recognized the free-exercise rights of the Jewish merchants

  who were adversely affected by Sunday closing laws. Nor is it inherently “religious


  2
      Orchard Wedding.com, https://www.orchardreception.com/ (emphasis added)


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  exercise” for Jack Philips to create and sell art made of cake and other edibles. But

  the Supreme Court protected Jack’s free-exercise rights because he lived out his

  faith in the way he operated his business. The same is true of the Tenneses.

        4. Finally, the City suggested that it has no exemptions to its Human Rights

  Ordinance, generally or as applied to Farmer’s Market vendors. But that argument

  is foreclosed by the Vendor Guidelines and the Ordinance itself. As the four corners

  of both documents make clear, the Ordinance and the Guidelines are chock full of

  outright exemptions and discretionary exceptions, all of which require the type of

  individualized assessments that Fulton condemns. These documents give City

  officials plenty of running room to exempt Country Mill. And in the end, Fulton

  makes clear that the question presented is not whether Country Mill is eligible for

  or should be given an exemption. The question is whether the City exempts or has

  the discretion to except anyone else, even if that power has never been exercised.

  And the answer to that question is indisputably “yes.”

        Fulton is limited in that it does not apply to laws that are truly generally

  applicable. For example, if there is a zoning law that requires buildings to be set

  back 20 feet from a property line, no exceptions, Fulton is not implicated. But

  whenever the government retains exemptions, exceptions, or discretion, then the

  government must satisfy strict scrutiny if it declines to exempt a religious

  organization or religiously motivated conduct, as the Supreme Court’s Covid cases

  explain at length. E.g., Tandon v. Newsom, 141 S. Ct. 1294, 1296 (2021) (per

  curiam) (citing Roman Catholic Diocese of Brooklyn v. Cuomo, 141 S. Ct. 63, 67–68,

  (2020) (per curiam)) (“Government regulations are not neutral and generally

  applicable, and therefore trigger strict scrutiny under the Free Exercise Clause,
  whenever they treat any comparable secular activity more favorably than religious

  exercise.”). And “whether two activities are comparable for purposes of the Free




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  Exercise Clause must be judged against the asserted government interest that

  justifies the regulation at issue.” Tandon, 141 S. Ct. at 1298.

        Here, the City of East Lansing’s asserted interest is preventing discrimi-

  nation based on sexual orientation. Taking the City at its word, then every

  exception, exemption, and exercise of discretion involving the Human Rights

  Ordinance implicates the exact same interest. As in Fulton, strict scrutiny applies

  to the City’s decision to exclude Country Mill from the Farmer’s Market. And as in

  Fulton, the City’s exclusion cannot satisfy strict scrutiny because East Lansing’s

  system of exemptions and individual assessments undermines any contention that

  its non-discrimination policies brook no departures.

                                     CONCLUSION

        Plaintiffs ask that the Court grant them a direct verdict on the individualized-

  assessments portion of their Free Exercise Claim in Count IV.



        Respectfully submitted this 6th day of August, 2021.


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                             CERTIFICATE OF SERVICE

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